
707 S.E.2d 238 (2011)
STATE of North Carolina
v.
Luther A. McKINNEY.
No. 553P07-2.
Supreme Court of North Carolina.
April 7, 2011.
Luther A. McKinney, For McKinney, Luther A.
Charles E. Reece, Assistant Attorney General, for State of NC.
Ben David, District Attorney, for State.

ORDER
Upon consideration of the petition filed by Defendant on the 10th of March 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 7th of April 2011."
